      Case 4:18-cv-00291-MW-CAS Document 11 Filed 08/09/18 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION
MARK THREATTS

      VS                                                CASE NO. 4:18cv291-MW/CAS

VERIZON COMMUNICATIONS,
INC., et al.,

                                      JUDGMENT

      The parties are ordered to comply with their settlement agreement. The court

reserves jurisdiction to enforce the order to comply with the settlement agreement. All

claims in this case are voluntarily dismissed with prejudice under Federal Rule of Civil

Procedure 41.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT


August 9, 2018                           s/ Victoria Milton McGee
DATE                                     Deputy Clerk: Victoria Milton McGee
